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 13
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 14
          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 15
 16
    BUDDY WEBSTER p/k/a BUDDY                          Case No. 2:17-cv-03027-JFW-MRW
 17 BLAZE,
                                                       DECLARATION OF KIMBERLY
 18                    Plaintiff,                      ZIDE DAVIS IN SUPPORT OF
                                                       DEFENDANTS’ REPLY IN
 19              v.                                    SUPPORT OF MOTION TO
                                                       TRANSFER VENUE
 20 DEAN GUITARS; ARMADILLO
    ENTERPRISES, INC.; ARMADILLO                       Filed Concurrently with Defendants’
 21 DISTRIBUTION ENTERPRISES,                          Reply in Support of Motion to Transfer
    INC.; ESTATE OF DIMEBAG                            Venue and Declaration of Evan
 22 DARRELL ABBOTT, an unknown                         Rubinson
    entity; GUITAR CENTER, INC., A
 23 Delaware corporation; RITA HANEY,                  Judge:    Hon. John F. Walter
    an individual, EMOJI FAME, a New                   Date:     July 31, 2017
 24 York business entity of unknown form,              Time:     1:30 p.m.
    and DOES 4-10 inclusive,                           Crtrm.:   7A
 25
                 Defendants.                           Trial Date:     None Set
 26
 27
 28
      316335.1                                                      Case No. 2:17-cv-03027-JFW-MRW
                      DECLARATION OF KIMBERLY ZIDE DAVIS IN SUPPORT OF DEFENDANTS’
                             REPLY IN SUPPORT OF MOTION TO TRANSFER VENUE
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